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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 17-22326-CIV-ALTONAGA/Goodman

  LUCIO ALFONSO
  COVONE BELLO,

         Plaintiff,
  v.

  CATERPILLAR, INC.,

        Defendant.
  ___________________________/

                                               ORDER

         THIS CAUSE came before the Court on the Joint Motion to Extend Scheduling Order

  Deadlines and to Continue Trial Date [ECF No. 52]. The relief the parties request is evident

  from the title of the Motion. The reason provided for what amounts to a three-month extension

  of the pre-trial deadlines and trial date is the parties choosing to forego discovery and the

  preparation of experts in favor of pursuing a settlement. (See id. ¶¶ 4, 5).

         Under Federal Rule of Civil Procedure 16(b)(4), a scheduling order “may be modified

  only for good cause and with the judge’s consent.”           This good cause standard precludes

  modification unless the schedule cannot be met despite the diligence of the parties seeking the

  extension. See, e.g., Oravec v. Sunny Isles Luxury Ventures, L.C., 527 F.3d 1218, 1232 (11th

  Cir. 2008) (“We have recognized that Rule 16[b]’s good cause standard ‘precludes modification

  [of the scheduling order] unless the schedule cannot be met despite the diligence of the party

  seeking the extension.” (first alteration added; citation omitted)); Roberson v. BancorpSouth

  Bank, Inc., Civ. Act. No. 12-0669-WS-N, 2013 WL 4870839, at *2 (S.D. Ala. Sept. 12, 2013)
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  (“Diligence, not lack of prejudice, is the touchstone of the Rule 16(b)(4) inquiry.” (citations

  omitted)).

         The preference to “avoid unnecessary litigation costs,” and choice to “postpone[]

  engaging in discovery, including discovery related to expert witnesses,” (Mot. ¶ 4 (alteration

  added)), although understandable, does not satisfy the requirement parties seeking an extension

  be diligent in meeting deadlines. While the parties may, by agreement, extend the dates to

  exchange expert reports and complete discovery, it is

         ORDERED AND ADJUDGED that the Joint Motion to Extend Scheduling Order

  Deadlines and to Continue Trial Date [ECF No. 52] is DENIED.

         DONE AND ORDERED in Miami, Florida this 1st day of December, 2017.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

  cc:    counsel of record




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